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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  UNITED STATES, et al.,                       )
                                               )
                        Plaintiffs,            )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                        Defendant.             )


      PLAINTIFFS’ OBJECTIONS TO MAGISTRATE JUDGE’S ORDER DENYING
                  MOTION TO AMEND COORDINATION ORDER

         Pursuant to Fed. R. Civ. P. 72(a) and Local Civil Rule 72, Plaintiffs respectfully object to

  the Magistrate Judge’s Order of April 19, 2024 (ECF No. 560) denying Plaintiffs’ Motion to

  Amend Order Regarding Coordination of Discovery (ECF No. 550). The grounds for these

  objections are set forth in the accompanying memorandum of law. A proposed order is attached.




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  Dated: May 3, 2024

  Respectfully submitted,

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